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§

UNITED STATES BANKRUPTCY COURT

MIDDLESBZ;SZEVZFOELORIDA F` LED

ass 12 2013

"C‘LERK U.S. BANKRUPTCY.
NADINE ROUNDTREE TROMBACCO; ORLANDO D\V\S`ON

Debtor / Petitl'oner

In re:

Case No. 6:16-bk-00188-KSJ
Chapter: 13

 

SECOND AMENDED CHAPTER 13 PLAN
CHECK ONE:

The Debtor certifies that the Plan does not deviate from the model plan adopted
by the Court at the time of the filing of this case. Any nonconforming provisions are deemed
stricken or subject to amendment

X The Plan contains provisions that are specific to this Plan in Additional
Provisions, paragraph 5 below. Any nonconforming provisions not set forth in paragraph 5 are
deemed stricken

1. MONTHLY PLAN PAYMENTS:

Including Trustee's fee of 10% and beginning thirty (3()) days from filing/conversion date.
Debtor to pay to the Trustee for the period of 60 months ln the event the Trustee does not
retain the full 10%, any portion not retained Will be paid to unsecured creditors pro-rata under
the plan:

SEE ATTACHED
A. $ FOR MONTHS THROUGH
B. $ FOR MONTHS THROUGH
C $ 1“ z z _ FOR MONTHS THROUGH

~wt:~

ln order to pay the following creditors:

PRIORITY CREDIT UNION
301 E. MICHIGAN STREET
ORLANDO FL 32806

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NATIONSTAR MORTGAGE LLC

Irz's Kwon, Esquz're

Florida Bar Number 01 15140 - Email: Ikwon@rasflaw.com

ROBERTSON, ANSCHUTZ & SCHNEID, P.L. Attorney for NATIONSTAR MORTGAGE LLC,
6409 Congress Ave., Suite 100 Boca Raton, FL 33487 - Telephone: 561-241-6901

Facsimile: 561-997-6909

BANK ()F AMERICA, N.A.

Ashley Prager Popowitz

McCalla Raymer, LLC

110 SE 6 St# 2400

Representing Bank of America, N.A.

Fort Lauderdale, FL 33301

754-263 -1065 Email: alp@rnccallaraymer .com

Nicolette Loper, In-House Paralegal for

Scott Randolph, Tax Collector

ORANGE COUNTY TAX COLLECTOR

200 S. Orange Ave, Suite 1500

Orlando, FL 32801

Telephone; (407) 836-2772

Facsimile: (407) 836-0084 Email: nloper@octaxcol.com

2. ADMISTRA!IVE ATTQB§E! EEE§; $ N/A

TOTAL PAID $ N/A
BALANCE DUE $ N/A
PAYABLE THROUGH PLAN $ N/A MONTHLY

3. RI T fi inll S. . 7'

NAME OF CREDITOR: TOTAL CLAIM

CAP ONE AS COLL ASSN

RMCTL2013

P O BOX 54426

NEW ORLEANS, LA 70154 2461.73

Nicolette Loper, In-House Paralegal for
Scott Randolph, Tax Collector

ORANGE COUNTY TAX COLLECTOR
200 S. Orange Ave, Suite 1500

Orlando, FL 32801

Telephone: (407) 836-2772

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|B[}§!EE FEE§:

Trustee shall receive a fee from each payment received, the percentage of which is fixed
periodically by the United States Trustee.

§FIJLRLD_LNM§.;

Pre-Confirmation Adequate Protection Payments: No later than 30 days after the date of the
filing of this Plan or the Order for Relief, whichever is earlier, the Debtor shall make the
following adequate protection payments to creditors pursuant to §l326(a)(1)(C). If the
Debtor makes such adequate protection payments on allowed claims to the Trustee pending
confirmation of the Plan, the creditor shall have an administrative lien on such payment(s),
subject to obj ection.

(A) Claims Secured by Real Property Which Debtor Intends to Retain/ Mortgage Payments Paid
through the Plan: Debtor Will pay, in addition to all other sums due under the proposed Plan, all
regular monthly post-petition mortgage payments to the Trustee as part of the plan. These
regular monthly mortgage payments, which may be adjusted up or down as provided for under
the loan documents_, are due beginning the first due date after the case is filed and continuing
each month thereafter. The Trustee shall pay the post-petition mortgage payments on the
following mortgage claims

NAME-CREDITOR COLLATERAL ESTIMATED PAYMENT

(B) Claims Secured by Real Property Which Debtor Intend(s) to Retain / Arrearages Paid
through the Plan: In addition to the provisions in Paragraph A above requiring all post-petition
mortgage payments to be paid to the Trustee as part of the Plan, the Trustee shall pay the pre-
petition arrearages on the following mortgage claims

(C) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modification: Pending

the resolution of a mortgage modification request, the Debtor shall make the following
adequate protection payments to the Trustee, calculated at 31% of the Debtor’s gross monthly
income. Absent further order of this Court, the automatic stay shall terminate effective 6
months after the filing of the Debtor’s bankruptcy petition

(D) Claims Secured by Personal Property to Which Section 506 Valuation is NOT Applicable
Secured Balances: Upon confirmation of the Plan, the interest rate shown below or as modified
will be binding unless a timely written objection to confirmation is filed and sustained by the
Court. Payments distributed by the Trustee are subject to the availability of funds

NAME-CREDITOR:

PRIORITY CREDIT UNION
ADDRESS: 301 E MICHIGAN STREET
ORLANDO FL 32806

COLLATERAL: AUTO
ADEQUATE PROTECTION Pl\/IT. IN PLAN: see attached

3

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(E) Claims Secured by Personal Property to Which Section 506 Valuation is Applicable

NAME-CREDITOR:

PRIORITY CREDIT UNION
301 E MICHIGAN STREET
ORLANDO FL 32806

COLLATERAL: AUTO
ADEQUATE PROTECTION PMT. IN PLAN: See attached

(F) Claims secured by Personal Property: Regular Adequate Protection Payments and any
Arrearages Paid in Plan

NAME-CREDITOR:

PRIORITY CREDIT UNION
301 E MICHIGAN STREET
ORLANDO FL 32806

COLLATERAL: AUTO
ADEQUATE PROTECTION Pl\/IT. IN PLAN: See attached

(G) Secured Claims/Lease Claims Paid Direct by the Debtor: The following secured
claims/lease claims are to be paid direct to the creditor or lessor by the Debtor outside the Plan.
The automatic stay is terminated in rem as to these creditors and lessors upon the filing of this
Plan. Nothing herein is intended to terminate any co-debtor stay or to abrogate the Debtor’s
state law contract rightsl The Plan must provide for the assumption of lease claims in the
Lease/Executory Contract section below.

NAME OF CREDITOR PROPERTY/COLLATERAL

(H) Surrender of Collateral/Leased Property: Debtor will surrender the following
collateral/leased property no later than thirty (30) days from the filing of the petition unless
specified otherwise in the Plan. The automatic stay is terminated in rem as to these
creditors/lessors upon the filing of this Plan. Nothing herein is intended to lift any applicable
co-debtor stay or to abrogate Debtor’s state law contract rights. The Plan must provide for the
rejection of lease claims in the Lease/Executory Contract section below

NAl\/IE OF CREDITOR PROPERTY / COLLATERAL TO BE SURRENDERED

URED- N T()B D TRI

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E E EC TORY RAT°

General unsecured creditors with allowed claims shall receive a pro rata share of the balance of
any funds remaining after payments to the above referenced creditors or shall otherwise be paid
pursuant to the provisions of` a subsequent Order Confirming Plan. The estimated dividend to
unsecured creditors is $__0___.

IT NA I I()NS:

1.

Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing
such claims to the extent the debt is secured by said collateral otherwise, the lien does not
secure debt that exceeds the value of the collateral as of date of petition

Payrnents made to any creditor shall be based upon the amount set forth in the creditor’s
proof of claim adjusted to current market value or other amount as may be allowed by a
specific Order of the Bankruptcy Court.

. Property of the estate (check one)*

(a) X shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise; or
(b) shall vest in the Debtor upon confirmation of the Plan.

*If the Debtor fails to check (a) or (b) above, or if the Debtor checks both (a) and (b),
property of the estate shall not vest in the Debtor until the earlier of the Debtor’s discharge
or dismissal of this case, unless the Court orders otherwise

The amounts listed for claims in this Plan are based upon Debtor’s best estimate and
belief. The Trustee shall only make payment to creditors with filed and allowed proof of
claims. An allowed proof of claim will be controlling, unless the Court orders otherwise

Case Specific Provisions: SEE ATTACHED

Dated: August 12, 2016

 
    
 

RoUNDTRI-;E TRoMBACCo

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CLAIMS

 

CLAIM 1

PRlORITY

$ 4,465.07

AUTO LOAN

TERM

PAYMENT

 

CLAIM 7

NATIONSTAR
MORTGAGE
LLC

177,111.32

MORTGAGE

60

7 4.41783333

$500 towards
monthly
payment based
on cramdown
to current
market Value
with 2%
interest. The
arrearage as of
Date of the
petition is part
ofthe
cramdown.

 

CLAIM 8

BANK OF
AMERICA,
N.A.

48,106.48

MORTGAGE

60

$300 per
month based
on cramdown

to current
market value

with 2%

interest.

Alleged
arrears in the

amount of
$19,648.50 are
objected to as
it is usurious
improper debt
collection that
Debtor will be
pursuing in
adversary
proceedings

 

CLAIM 13

 

Orange County
Tax Collector
CAP ONE AS
COLL ASSN
RMCTL2013
PO BOX 54426
NEW ORLEANS,
LA 70154

 

 

2,461.73

 

PROPERTY
TAXES

60

 

 

41.02883333

 

 

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CERTIFICATE OF SERVICE

I, the undersigned, herby certify that a true and correct copy of the foregoing instrument has been
furnished by U.S. Mail to the parties on the service list w on this date August 12, 2016.

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" l d ) , fm dt<w

NADINE ROUNDTREE TROMBACCO

  
       

 
 
   

SERVICE LIST:

Laurie K. Weatherford, Trustee
Post Office Box 3450
Winter Park, FL 32790

UNITED STATES TRUSTEE

Office of the United States Trustee
George C. Young Federal Building

400 West Washington Street, Suite 1100
Orlando, FL 32801-2210

PRIORITY CREDIT UNION
301 E MICHIGAN STREET
ORLANDO FL 32806

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